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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on May 25, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. GRAND JURY ORIGINAL
DEANDRE PROVIDENCE, VIOLATIONS:
Defendant. : 18 U.S.C § 922(g)(1)

(Unlawful Possession of a Firearm and

Ammunition by a Person Convicted of a
: Crime Punishable by Imprisonment for a
: Term Exceeding One Year)

(UNDER SEAL)

INDICTMENT

The Grand Jury charges that:
COUNT ONE

On or about September 14, 2021, within the District of Columbia, DEANDRE
PROVIDENCE knowing he had previously been convicted of a crime punishable by
imprisonment for a term exceeding one year, in the Superior Court for the District of Columbia,
Criminal Case Nos. 2013-CF2-002410 and 2016-CF2-019881, and did unlawfully and

knowingly receive and possess a firearm, and did unlawfully and knowingly receive and possess
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ammunition, which had been possessed, shipped and transported in and affecting interstate and

foreign commerce.

(Unlawful Possession of a Firearm and Ammunition by a Person Convicted of a
Crime Punishable by Imprisonment for a Term Exceeding One Year, in violation of
Title 18, United States Code, Section 922(g)(1))

A TRUE BILL:

FOREPERSON.

Attornéy of the United States in
and for the District of Columbia.
